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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In Re:                                           Case No. 18-14412

 Raul Desamito
                                                  Chapter 13
 Leonila Desamito

 Debtors.                                         Hon. Judge LaShonda A. Hunt

                                  CERTIFICATE OF SERVICE

The undersigned, an attorney, hereby certifies that I have served a copy of this Notice of Mortgage
Payment Change upon the above-named parties by electronic filing or, as noted below, by
placing same in a properly addressed and sealed envelope, postage prepaid, and depositing it in the
United States Mail at 394 Wards Corner Rd., Suite 180, Loveland, OH 45140 on May 3,
2021, before the hour of 5:00 p.m.

          Jay M. Reese, Debtors’ Counsel
          lawofficeofjmreese@sbcglobal.net

          Glenn B. Stearns, Chapter 13 Trustee
          stearns_g@lisle13.com

          Patrick S Layng, U.S. Trustee
          ustpregion11.es.ecf@usdoj.gov

          Raul Desamito, Debtor
          366 Deering Lane
          Bolingbrook, IL 60440
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     Leonila Desamito, Debtor
     366 Deering Lane
     Bolingbrook, IL 60440

Dated: May 3, 2021                        Respectfully Submitted,

                                          /s/ Molly Slutsky Simons
                                          Molly Slutsky Simons (OH 0083702)
                                          Sottile & Barile, Attorneys at Law
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